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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MEGAN TAYLOR, WENDY SMOTHERS,
BHAVIK LAKHANI, MASSIMILIANO
AGOSTINI, and OCTAVIO CHAVES,
individually and on behalf of the general public
and those similarly situated,
                                                     Case No. 23 C 16439
               Plaintiffs,
       v.                                            Honorable Sunil R. Harjani

DAVE’S KILLER BREAD, INC., FLOWERS
FOODS, INC., and FLOWER BAKERIES
LLC,

               Defendants.

                             MEMORANDUM OPINION AND ORDER

        Before the Court is Defendants Dave’s Killer Bread, Inc., Flowers Foods, Inc., and Flowers
Bakeries, LLC’s Motion to Dismiss the Complaint pursuant to Federal Rules of Civil Procedure
9(b), 12(b)(1), and 12(b)(6). Plaintiffs Megan Taylor, Wendy Smothers, Bhavik Lakhani,
Massimiliano Agostini, and Octavio Chaves bring a class action lawsuit claiming that Defendants
used unlawful and deceptive practices in labeling and marketing their bread, bagel, and burger bun
food products. The Complaint alleges that Defendants improperly promoted that their products
had a certain amount of protein, in violation of the Illinois Consumer Fraud and Deceptive
Business Practices Act (Count I), the Illinois Uniform Deceptive Trade Practices Act (UDTPA)
(Count II), and the New York General Business Law Section 349 (Count III) and Section 350
(Count IV). Defendants also assert claims for breach of express warranty (Count V), common law
fraud, deceit, and/or misrepresentation (Count VI), and unjust enrichment (Count VII) arising from
this conduct.

        Defendants’ motion to dismiss [29] is granted in part and denied in part. While Plaintiffs
have Article III standing, they have failed to sufficiently plead future harm. Thus, the request for
injunctive relief is dismissed without prejudice. Defendants’ preemption arguments fail under
Seventh Circuit case law and Plaintiffs have met the pleading requirements for each of their counts,
so the motion to dismiss is denied in all other respects.

                                            Discussion
        Plaintiffs assert claims that Defendants used unlawful and deceptive practices by
improperly labeling and marketing their consumer food products as having a certain amount of
protein. Pursuant to the Food, Drug, and Cosmetic Act (FDCA), the Federal Drug Administration
(FDA) adopted regulations governing the nutritional labeling of food. The FDA requires
manufacturers to provide nutritional information on products intended for human consumption,
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including information about the level of certain nutrients such as protein, in a product’s nutrition
facts panel. 21 C.F.R. § 101.9(c). The FDCA prohibits false or misleading nutritional statements
on packaged food and dictates what claims a manufacture can make about a food’s nutrient content
outside of the nutrition facts panel. 21 U.S.C. § 343(r)(1)(A); 21 C.F.R. § 101.13(b).

        Relevant to this suit, the regulations provide two methods for calculating the amount of
protein in a product. 21 C.F.R. § 101.9(c)(7). A manufacturer is required to list the amount of
protein in the nutritional fact panel as the number of grams of protein per serving. Id. This can be
calculated via the nitrogen method 1 or based on the corrected amount of protein per serving as
adjusted for protein digestibility using the protein digestibility-corrected amino acid score
(PDCAAS). Id. When a product’s label includes a statement regarding the number of grams of
protein in a serving (a nutrient content claim), Section 101.9 requires the manufacturer add the
percent daily value in the nutrition facts panel. Id. § 101.9(c)(7)(i). The percent daily value is the
recommended amount of nutrients to consume or not to exceed daily. Id. The percent daily value
must be calculated using the corrected amount of protein as calculated by using PDCAAS. Id. §
101.9(c)(7)(i).

        Plaintiffs advance two main theories that led reasonable customers to believe that sixteen
of Defendants’ products contained high quality protein and provided more grams of protein per
serving than in actuality. First, Plaintiffs assert that Defendants unlawfully made a protein content
claim on the front of the products’ packaging without complying with the regulatory requirements
set forth in 21 C.F.R. § 101.9(c)(7)(i)-(iii). Second, that Defendants misled reasonable consumers
regarding the quality of protein in their products and its contribution to consumers’ daily protein
needs by omitting the PDCAAS-corrected percent daily value as required.

         In this motion, Defendants seek dismissal pursuant to Federal Rules of Civil Procedure
12(b)(1) and 12(b)(6). A Rule 12(b)(1) motion provides for dismissal of a claim based on lack of
subject matter jurisdiction. See Fed. R. Civ. P. 12(b)(1). “If the federal courts lack subject matter
jurisdiction, then [they] can go no further and must dismiss the suit.” Hadzi-Tanovic v. Johnson,
62 F.4th 394, 399 (7th Cir. 2023). “A motion under Rule 12(b)(6) tests whether the complaint
states a claim on which relief may be granted.” Richards v. Mitcheff, 696 F.3d 635, 637 (7th Cir.
2012). To survive a motion to dismiss, a complaint must “state a claim to relief that is plausible
on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). In reviewing the sufficiency of
a complaint for purposes of a motion to dismiss, the Court “construe[s] it in the light most favorable
to the nonmoving party, accept[s] well-pleaded facts as true, and draw[s] all inferences in [the
nonmoving party's] favor.” Bell v. City of Chicago, 835 F.3d 736, 738 (7th Cir. 2016) (quoting
Reynolds v. CB Sports Bar, Inc., 623 F.3d 1143, 1146 (7th Cir. 2010)).




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  When calculated based on the nitrogen method, the protein content is “calculated on the basis of the factor
6.25 times the nitrogen content of the food as determined by the appropriate method of analysis as given in
the ‘Official Methods of Analysis of the AOAC International,’ except when official AOAC procedures
described in this paragraph (c)(7) require a specific factor other than 6.25, that specific factor shall be used.”
21 C.F.R. § 101.9(c)(7).

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                                             Standing

         Standing “is a threshold question in every federal case because if the litigants do not have
standing to raise their claims the court is without authority to consider the merits of the action.”
Meyers v. Nicolet Rest. of De Pere, LLC, 843 F.3d 724, 726 (7th Cir. 2016) (cleaned up). Plaintiffs
must have a personal stake in the case and demonstrate standing with respect to each form of
requested relief. See TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021); Friends of the Earth,
Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 185 (2000). Defendants argue that Plaintiffs
do not have standing because: (1) they have failed to plead reliance or injury; (2) they cannot assert
claims for products they did not purchase; and (3) they have not pled harm requiring injunctive
relief.

        Defendants’ first argument fails because Plaintiffs have plausibly pled reliance and injury.
To establish standing under Article III, a plaintiff must show they have injury, causation, and
redressability. Friends of the Earth, 528 U.S. at 179. The Complaint alleges that each Plaintiff
purchased Defendants’ products after reading and relying on the veracity of the label that the
products included a specific amount of protein per serving. Each Plaintiff believed the Defendants’
statement about the amount of protein per serving and purchased at least one product based on that
representation, incurring economic damages. These allegations are enough to show reliance and
injury.

        Defendants also contend that Plaintiffs do not have standing to assert claims against
Defendants for products they did not purchase. The Complaint includes allegations involving
sixteen of Defendants’ products. Plaintiffs, collectively, have only bought two of the sixteen
named products. Courts in this district have frequently accepted the argument that “a plaintiff may
have standing to assert claims for unnamed class members based on products he or she did not
purchase so long as the products and alleged misrepresentations are substantially similar.’” See
Ulrich v. Probalance, Inc., 2017 WL 3581183, at *6 (N.D. Ill. Aug. 18, 2017); Wagner v. Gen.
Nutrition Corp., 2017 WL 3070772, at **5-6 (N.D. Ill. July 19, 2017). Furthermore, “[a]
substantial number of courts have decided that a plaintiff may have standing to assert claims on
behalf of class members based on products he or she did not purchase as long as the products and
alleged misrepresentations about a purchased product are substantially similar. In those cases, the
substantial similarity determination is a context-specific analysis, but frequently entails reference
to whether the challenged products are of the same kind, whether they are composed of largely the
same ingredients, and whether each of the challenged products bears the same alleged
mislabeling.” 1 McLaughlin on Class Actions § 4:28 (21st ed. 2024). Courts “consider not only
physical similarities but also the misrepresentations’ similarities.” Mednick v. Precor, Inc., 2014
WL 6474915, at *3 (N.D. Ill. Nov. 13, 2024). This Court elects to follow these decisions and
considers whether the products and alleged misrepresentations are substantially similar. Here, all
the products are grain food items, such as bread, bagels, and burger buns, sold by Defendants that
have allegedly misleading labels. Specifically, the protein claims made on the front label of each
product purportedly misleads consumers as to the quality and amount of protein per serving. Given
that the alleged misrepresentations are substantially similar, the Court finds that Plaintiffs have
standing as to all sixteen of the grain products alleged. See e.g., Ulrich, 2017 WL 3581183, at *6
(finding standing for unpurchased products based on similarly alleged protein misrepresentations).



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        Defendants’ final argument on standing – that Plaintiffs have failed to plead future harm –
has traction. Here, Plaintiffs are seeking relief from all seven counts in the form of a temporary or
permanent injunction. To pursue injunctive relief, a plaintiff “must face a real and immediate
threat of future injury[.]” Simic v. City of Chicago, 851 F.3d 734, 738 (7th Cir. 2017) (cleaned up).
“[T]he majority of courts in this district have concluded that a plaintiff’s awareness of the alleged
misrepresentations makes any future harm speculative, precluding that plaintiff from pursuing
injunctive relief.” See In re Beyond Meat, Inc., Protein Content Mktg. & Sales Pracs. Litig., 718
F. Supp. 3d 800, 810 (N.D. Ill. Feb. 21, 2024) (cleaned up). The Court follows the Seventh
Circuit’s reasoning in Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732 (7th Cir. 2014). There,
the Seventh Circuit noted that a plaintiff who is aware of a defendant’s deceptive practices is not
likely to be harmed by those practices in the future and thus lack standing for injunctive relief. Id.
at 741. Having said that, the Seventh Circuit has found future harm can, at times, be pled in
consumer fraud cases. In contrast to Camasta, the Seventh Circuit recently held in Kahn v.
Walmart Inc., that while a plaintiff had not alleged future harm, it “may be possible for plaintiff to
plead a likelihood of future harm, particularly in light of the injuries to consumers routinely caused
by bait-and-switch pricing schemes[.]” 107 F.4th 585, 606 (7th Cir. 2024). In Kahn, the Seventh
Circuit reversed the dismissal of the operative complaint with prejudice because it was not futile
for plaintiff to amend the complaint and state facts that could support future injury. Id. In line with
Kahn, the Court finds that permitting leave to amend would not be futile. Though somewhat
implausible at first blush, Plaintiffs will be given an opportunity, if they so choose, to allege that
they intend to keep buying Defendants’ products and that they would be unable to avoid future
injury after having discovered Defendants’ labeling practices. Id. At this time, however, Plaintiffs’
request for injunctive relief must be dismissed without prejudice. Camasta, 761 F.3d at 741.

                                            Preemption

        Counts I through IV of the Complaint arise under Illinois and New York consumer
protection statutes. The FDCA does not provide a private right of action, meaning Plaintiffs may
only seek relief pursuant to related state-law claims. Turek v. Gen. Mills, Inc., 662 F.3d 423, 426
(7th Cir. 2011). “The latter right however, is tightly circumscribed by the FDCA’s express
preemption of state-law theories that impose requirements ‘not identical’ to its own requirements.”
Benson v. Fannie May Confections Brands, Inc., 944 F.3d 639, 645 (7th Cir. 2019); 21 U.S.C. §
343-1. Thus, to avoid preemption under the FDCA, a state law claim related to misleading labeling
must allege a violation of the FDCA or its regulations. Turek, 662 F.3d at 426. Defendants advance
two theories of preemption: (1) that the front label protein content claim is expressly preempted;
and (2) that claims concerning consumers who were misled by failing to include the PDCAAs-
correct percent daily value for protein is impliedly preempted by Buckman Co. v. Plaintiffs’ Legal
Committee, 531 U.S. 341 (2001).

        Taking express preemption first, Plaintiffs claim that Defendants unlawfully made a protein
claim on the front of the package without complying with the regulatory requirements for making
a protein claim set forth in 21 C.F.R. § 101.9(c)(7)(i)-(iii). Defendants argue that numerous district
courts across the country have found that the theory Plaintiffs raise regarding the front label protein
content is preempted. However, this Court is bound by Seventh Circuit precedent, specifically
Benson and Bell v. Publix Super Markets, Inc., regarding whether this theory is expressly
preempted. 944 F.3d at 645; 982 F.3d 468 (7th Cir. 2020). The Seventh Circuit found in Benson

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that FDCA preemption is “an affirmative defense upon which the defendants bear the burden of
proof.” 944 F.3d at 645. Affirmative defenses do not justify dismissal under Rule 12(b)(6) but
instead should be raised as a Rule 12(c) judgment on the pleadings. Id. Accordingly, in Benson,
the Seventh Circuit found that the district court erred by dismissing the action based on FDCA
preemption. Id. (affirming the judgment on other grounds).

        The Seventh Circuit again addressed express preemption under the FDCA a year later, in
the context of a multidistrict litigation regarding a label on parmesan cheese that claimed it was
“100%” cheese. Bell, 982 F.3d at 473. The district court dismissed the claims on two grounds –
the front label claims were ambiguous, and a reasonable consumer would know there were added
ingredients. Id. at 475. On appeal, defendants also argued that federal preemption provided an
additional ground for dismissal. Id. at 476. The Seventh Circuit disagreed and found that all three
arguments, including preemption, were not grounds for dismissal. Id. When the FDCA lists
“labeling disclosures that are affirmatively required, state law may not tack on further required
disclosures that the federal standard does not mention.” Id. at 484. The Seventh Circuit held that
there was nothing being added by state law, as the FDCA prohibited false or misleading labeling
of food products. Id. Giving an illustration, the Seventh Circuit noted that express preemption
prohibits a state from requiring additional information on labels but does not preempt a claim if
the seller voluntarily adds information and lies. Id. Here, Defendants voluntarily added the grams
of protein on the front label of the products; this information is not required under either federal
or state law. Accordingly, this theory is not preempted under Seventh Circuit precedent and
preemption does not justify dismissal under Rule 12(b)(6).

        Defendants’ second preemption argument contends that Plaintiffs’ theory – that Defendants
misled reasonable consumers by omitting the PDCAAS-corrected percent daily value – is
impliedly preempted under Buckman. 531 U.S. 341. In Buckman, plaintiffs brought a fraud claim
based on an alleged misrepresentation during the FDA approval process for a medical device –
essentially a claim of fraud on the FDA. The Supreme Court held that state-law causes of action
that arise “solely from the violation of FDCA requirements” are impliedly preempted. Id. at 348.
However, the Supreme Court distinguished cases in which a plaintiff's claim arises from traditional
state tort law principles and not “solely from the violation of FDCA requirements.” Id. at 352.
Such claims are not preempted – even if the “state-law causes of actions ... parallel federal safety
requirements.” Id. at 353.

         Plaintiffs’ mislabeling claims about the percent daily value are not impliedly preempted by
the FDCA or under Buckman because the claims are grounded in traditional state law principles of
liability, such as breach of express warranty and fraud that predate the relevant FDCA
requirements. See Bausch v. Stryker Corp., 630 F.3d 546, 556-57 (7th Cir. 2010) (finding claims
based in state tort law principles were not impliedly preempted by Buckman). Contrary to
Defendants’ arguments, the claims do not depend on violations of requirements or prohibitions
imposed by the FDCA – they parallel them. Id.; see e.g., In re Testosterone Replacement Therapy
Prods. Liab. Litig. Coordinated Pretrial Pro., 2017 WL 1836443, at *7 (N.D. Ill. May 8, 2017)
(finding claims that defendants improperly marketed products were not preempted under Buckman
because they are traditionally grounded in state law principles and do not depend on violations of
the FDCA). Instead, the claims focus on Defendants’ fraud and deceit in advertising, labeling, and
marketing of their products as having a certain amount of protein. Further, the Seventh Circuit has

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found the affirmative defense of preemption does not justify dismissal on a 12(b)(6) motion.
Benson, 944 F.3d at 645. Accordingly, the Court does not find implied preemption here.

                                   Sufficiency of the Allegations

         Defendants also move to dismiss Plaintiffs’ claims by arguing that pleading standards have
not been met. In summary, Defendants contend that: (1) Plaintiffs’ Illinois Consumer Fraud and
Deceptive Business Practices Act (Count I), UDTPA (Count II), New York General Business Law
(Count III and IV), and unjust enrichment (Count VII) claims have failed to plead deception and
materiality; (2) Plaintiffs’ fraud (Count VI) and fraud-based unjust enrichment (Count VII) claims
fail to meet Rule 9(b)’s heightened standard; (3) Plaintiffs fail to state a claim for breach of express
warranty (Count V); and (4) Plaintiffs’ unjust enrichment claim (Count VII) fails as it is not a
stand-alone claim. These arguments are unpersuasive – Plaintiffs have pled plausible claims for
relief.

        First, Plaintiffs have alleged deception and materiality for Counts I-IV and VII. “[A]
practice is deceptive if it creates a likelihood of deception or has the capacity to deceive.” Benson,
944 F.3d at 646 (cleaned up). To determine the likelihood of deception, courts use a reasonable
consumer standard, which looks at the alleged deceptive act in light of the totality of the
information made available to the consumer. Id. As determined by the Seventh Circuit, plaintiffs’
claims “survive if they have plausibly alleged that the defendants’ front label likely lead a
significant portion of reasonable consumers to falsely believe something that the back labels
belie.” Bell, 982 F.3d at 476. Here, the front label noted that the food products included a certain
amount of grams of protein. The back label did not provide additional information about how
much of the recommended daily value for protein was provided by these grams – as required by
statute. As a result, Plaintiffs sufficiently allege that Defendants’ labels are unlawful and deceptive
because they misled reasonable consumers into believing that a serving of Defendants’ products
would give them the grams of protein represented on the front label. Further, these representations
were material and caused damages. This is because Plaintiffs alleged that, had they known the
percent daily value or the amount of protein per serving was less, they would not have purchased
the products. See e.g., Ulrich, 2017 WL 3581183, at **8-9 (denying 12(b)(6) motion to dismiss
consumer fraud claims).

        Additionally, the claims sounding in fraud comply with the heightened pleading standard.
For these claims, Rule 9(b) requires a party to state “with particularity the circumstances
constituting fraud.” Fed. R. Civ. P. 9(b). The Seventh Circuit has held that a plaintiff must describe
the “who, what, when, where, and how” of the fraud. Pirelli Armstrong Tire Corp. Retiree Med.
Benefits Tr. v. Walgreens Co., 631 F.3d 436, 441-42 (7th Cir. 2011). Here, the Complaint alleges
that Defendants (the who) perpetrated fraud (the what) by misrepresenting the amount of protein
and failing to include the percent daily value on the back label (the how) while selling their
products in grocery stores throughout California, Illinois, and New York (the where) from 2018 to
present (the when). Thes assertions are expanded upon in the Complaint and meet the particularity
requirement of Rule 9(b).

       Defendants’ final arguments, that Plaintiffs fail to state a claim for breach of express
warranty and unjust enrichment, are unavailing. To state a claim for breach of express warranty,

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a complaint must allege that a seller: (1) made an affirmation of fact or promise relating to the
goods; (2) which was part of the basis for the bargain; and (3) guaranteed that the goods would
conform to the affirmation or promise. Rudy v. D.F. Stauffer Biscuit Co., 666 F. Supp. 3d 706, 721
(N.D. Ill. Mar. 30, 2023). The Complaint alleges that Defendants made an affirmation that their
products had a certain amount of protein, reflected in the products’ marketing, advertising, and
labeling. Individuals bought the products due to the representation that each product provided a
certain amount of protein. And Defendants guaranteed the goods would conform to the affirmation
on the label. See e.g., In re Beyond Meat, 718 F. Supp. 3d at 820-21 (denying motion to dismiss
breach of express warranty count because a protein content claim on a label is a warranty about
the contents of the product); In re Hair Relaxer Mktg. Sales Pracs. & Prods. Liab. Litig., 702 F.
Supp. 3d 692, 705-06 (N.D. Ill. Nov. 13, 2023) (allowing warranty claims based on representations
that products were “gentle,” “natural,” and “healthy”); Bakopoulos v. Mars Petcare US, Inc., 592
F. Supp. 3d 759, 766 (N.D. Ill. Mar. 22, 2022) (allowing warranty claims based on defendant's
representations that the products were “limited ingredient[s]” and had “no corn, wheat, soy, or
chicken”).

        Defendants only argument regarding unjust enrichment is that it cannot be asserted as a
standalone claim. “Under Illinois law, unjust enrichment is not a separate cause of action.” Pirelli
Armstrong Tire Corp., 631 F.3d at 447. Rather, it is a condition brought about by fraud or other
unlawful conduct. Toulon v. Cont’l Cas. Co., 877 F.3d 725, 741 (7th Cir. 2017). As such, the
request for relief based on unjust enrichment is tied to the fate of the consumer fraud claims and
will proceed for now. See e.g., Vanzant v. Hill’s Pet Nutrition, Inc., 934 F.3d 730, 740 (7th Cir.
2019).

                                           Conclusion

        For the reasons stated above, Defendants’ motion to dismiss [29] is granted in part and
denied in part. All seven counts will proceed. However, Plaintiffs have not pled future harm and
thus Plaintiffs’ request for injunctive relief is dismissed without prejudice. The motion to dismiss
is denied in all other respects.


SO ORDERED.

Dated: January 10, 2025                                      ______________________________
                                                             Sunil R. Harjani
                                                             United States District Judge




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